                                                                                    cl-Ev s OFFICEU.:.DIsT.COURT
                                                                                         ATCHARLOU ESM LE,VA
                                                                                                FILED

                                               lN THE                                             JdN 2S 2218
                                   UN ITED STATES DISTRICT COU RT                            JU        . UD           ,CLERK
                                                                                            %.
                                              FOR THE
                                   W ESTERN DISTRICT OF V IRG IN IA

        LTNITED STATESOFAM ERICA                   ) PETITION FOR W RIT OFHABMWFv ScOF
                                                                                    iwFœICoErUràskvDll
                                                                                                     sum,v
                                                                                                     u   CAOURT
                                                       CORPUSAD PROSEQUENDUM                                          FILED

                                                              Clim inalN o.3:18-CR-11
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                                                                                                    BY'
        JAM ES ALEX FIELD S JR                                                                                D                T

               Yourpetitioner,United StatesofA m erica,by ChzistopherK avarmugh,A ssistantUnited
        StatesAttorney fortheW cstern Dist-
                                          rictofVirginia,respecifully shows:
               1.ThatthiscaseisaprosecutionuponanindictmentchargingTitle18U.S.C.j
        245(b)(2)(B),18U.S.C.j249(a)(1),18U.S.C.j3591,and18U.S.C.j.3592.
                2.Thatthepresènceofthesaiddef-    endantbefore$heUnited StatesM agistrateCourtfor
        the W estern DistrictofVirginia atChgrlottesville,V irginip.
                                                                   ,sdheduled foran initialappçapnce
        onJuly5,2018at3:00p.m.isnecessarfandheisnow incustodyofAlbemarle-charlottesvillb
        RegionalJail,Charlottesville,Virginia 22902.
               W HEREFORE,yourpetitionerpraysthata W ritOfRabeasCofpusAdProseqltendnm be
        isstledtotheUnited StatesM arshalfortheW esternDistrictofVirginia,orSpecialAgentPhilipp
        Alhusen and anoihqrdeputized agent,whoshallbringthedefendantbeforetheColm atthe
        above tim e and place.
                                                              W             .>X-              x.''<O
                                                        x.A
                                                       x'M          '                      .v.'
                                                                                          .,
                                                                                   ,...
        D ated: 6/29/18                                  ...''
                                                              .         .
                                                                             g>---
                                                   Assist tU nited St e'sAttorney
        ******++**++*+******+*+*********#**+**#**+*$***+ .Y*********+**++***+*****++***

        TO : Albem arle-chalottesville RegiorfalJail,l60 Peregory Lane,Charlottesville,Virginia 22902
             (434)977-6981

               IN THE EVENT THIS INM ATE IS TO BE TRANSFERRED TO ANOTHER
        FACILITY BEFORE THE M QUESTED DATE OFAPPEARANCE,PLEASE NOTIFY Tl-Y
        ASSISTANT U.S.ATTORNEY LISTED ABOVE AT (434)293-4283.
r
    î
        GREETIN G S:

               W E COM M AND YOU thatyou surrenderthebody OfJAM ES ALEX FIELDS JR
        detainedin theAlbem atle-charlottesvilleRegiohalJail,undçryourcustody asitissaid,tothe
        United StatesM arshalfprthe W estern Districtofvirginia,orSpecialAgentPhilipjAlhtlsen and




        Case 3:18-cr-00011-MFU Document 27 Filed 09/20/18 Page 1 of 2 Pageid#: 57
anotherdeputized agent,Avho shallbring the defendantbefore tlle Cour'   tatthe above tinle and
place,to the end thathis body willbe beIbre the U nited States M
                                                               'lagistrate Courtlbrthe N'Vestern
DistrictofVirginia,atCharlottesville,Virginia,on the 5th day'tjf July,20 18,at3:00 p.m .,orat
stlch othertin:e ortil'
                      nes asthe.
                               '
                               lM'auistrate Cotlrtm av direct.
        EN: TER : Th1s       dav ofJulàe 2018.
                       29th

                                                             United Stales N4
                                                                           ' agistrate Judi
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       0F VIRG INIA,O R FBISPECIA L A GENT PHII-IPP A LI-IUSEN AN l)A NO TI-IER
       DE'PU *
             1OIZED AGENT:                                       A TRUE COPX'TESTE:
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       TO EXECU'I'E:                                                YY: . .    .
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                                                                                             Rx
        W E COM M AN D thatyou proceed to the Albennal'le-cl:ftl'lottesville egio alJgiland
rem ove therefrom the body ofJA NIE S A LEX FIELD S JR and produce him tlndersafe and
secure condtlctbvfore the Uni    ted StatesM agistrate Courtfbrthe q/estern DistrictofV irginia, at
Charlottesville,N'
                 rirg.inia,on the 5th day of Ju1)',2018,at. 3200 p.1n.,oratsuch otherlinne or
tim esasthe Nlag'istrate C'.otl14 luay direct,

                                                             JU LIA C.D UD LEY
                                                             CLERK OF COI.J -1-

                                                             13Y : '
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                                                                   D tlty          rk
CU STOD Y ZNSSUM ED :

EXECUTEDthis 5 dayof A0
                     ,- ls                   .




              BY ..

                      United St esszfal-shalr
                                            /D eptlty
RETURN ED :

EXECUTED thisR             dayof       ,9 l8.
              BY :
                       United States1 rshal/Deputy

SENTEN
     ' CED STATE PRISON ER '
                           .            No




Case 3:18-cr-00011-MFU Document 27 Filed 09/20/18 Page 2 of 2 Pageid#: 58
